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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


ANDREA HOOD,                                  )
                                              )
        Plaintiff,                            )
v.                                            )       Case No.
                                              )       JURY DEMANDED
STEVEN T. MNUCHIN,                            )
Secretary of the Treasury,                    )
                                              )
        Defendant.                            )


         COMPLAINT FOR VIOLATION OF THE REHABILITATION ACT AND
                  RETALIATION AND INJUNCTIVE RELIEF




        COMES NOW Plaintiff, Andrea Hood, and sues Defendant described in the caption of

this Complaint, by and through the undersigned attorney, and for causes of action state as

follows:

                                            PARTIES
1       The Plaintiff, Andrea Hood, was, at all times pertinent to the events described herein, an

        adult resident of Shelby County, Tennessee, and an individual protected from unlawful

        discrimination on the basis of her disability in accord with the Rehabilitation Act of 1973.

2       Defendant, Steven Mnuchin, is the Secretary of the Treasury of the United States of

        America and is sued in his capacity as head of a department in the executive branch of

        the Federal Government within the meaning of 29 U.S.C. §§ 791 and 794.




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                                 JURISDICTION AND VENUE
3       This action for injunctive relief and damages is brought pursuant to the Rehabilitation

        Act of 1973, as amended, 29 U.S.C. §§ 791, et seq. (“Rehabilitation Act”) and Title VII

        of the Civil Rights Act of 1964, as amended 42 U.S.C. § 2000e(5)(f)(3). This Court has

        jurisdiction of this case pursuant to 28 U.S.C. §§ 1331 and 1334.

4       Venue is invoked pursuant to 42 U.S.C. § 2000e, which governs venue in cases under the

        Rehabilitation Act and 28 U.S.C. § 1391(b). The unlawful employment practices

        complained of herein all occurred in the Western District of Tennessee.
5       Plaintiff has exhausted all of her administrative remedies. To wit, on June 30, 2017

        Plaintiff timely filed her formal complaint and on February 8, 2019 the Agency issued its

        Final Agency Decision (a copy of which is attached hereto as Exhibit A). This

        Complaint is filed on or before the 90th day after the Final Agency Decision.

                                     FACTUAL SUMMARY
6       Plaintiff was employed by Defendant as a Management and Program Assistant.

7       While in this position, Plaintiff suffered from lupus and chronic migraines.

8       Plaintiff’s lupus is exacerbated by stress which in turn causes Plaintiff to experience

        flare-ups and nosebleeds.

9       As a result of Plaintiff’s medical conditions, she had a reasonable accommodation request

        on file and approved Family and Medical Leave Act (“FMLA”) intermittent leave.

10      In or about 2015, Cynthia Heuerman became Plaintiff’s manager. At that time Plaintiff

        began having increased numbers of flare-ups and nosebleeds and had to use additional

        FMLA time.

11      On multiple occasions, Plaintiff’s Manager and the Chief of the Payroll Center told

        Plaintiff that she should retire due to her health conditions.

12      On or about February 27, 2017 Plaintiff received a lowered evaluation from her
        immediate manager. The final evaluation was lowered in that it did not match the

        numbers from the Embedded Quality Review System in terms of performance.


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13   Plaintiff’s workplace interaction score was lowered, but there was never any sort of

     complaint from any others concerning how Plaintiff received feedback. When Plaintiff

     asked here manager about the lowered evaluation, she was told that there were two

     employee complaints. However, those employees denied making any complaint.

14   Plaintiff’s evaluation was lowered in terms of accuracy based on errors that were made

     during the time surrounding Complainant’s father’s passing.

15   In addition to the foregoing, Plaintiff was the subject of ongoing harassment which

     includes the following:
     a. On or about April 12, 2017, Plaintiff was denied the right to take FMLA leave for a

        cause that differed from her original FMLA application. Plaintiff was subsequently

        charged AWOL for this time;

     b. Plaintiff was harassed by her manager when she was followed around the office and

        accused of socializing when she was retrieving a fax or copies from the machine; and

     c. On or about May 16, 2017, Plaintiff received a memorandum proposing a 15 day

        suspension which she ultimately received.

16   On or about April 8, 2017, Plaintiff received an e-mail from the Chief of the Payroll

     Center indicating that she wanted to be able to capitalize on Plaintiff’s AWOL and ensure

     that the charge “sticks.”

17   On or about November 29, 2018, Plaintiff’s employment was terminated.

18   The reasons articulated by Defendant for Plaintiff’s termination are pretext in that they

     are either false or insufficient to sustain the termination decision.

                      County I - REHABILITATION ACT CLAIM
19   Plaintiff hereby restates and incorporates by reference each of the allegations contained in

     paragraphs 1 through 18.

20   It is an unlawful employment practice for an employer to discharge or otherwise
     discriminate against an individual with respect to any of the terms or conditions of his or

     her employment based on that individual's disability.


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21   Plaintiff is a person with a disability, has a record of a disability and/or was perceived as

     disabled by the Defendant as contemplated by the Rehabilitation Act.

22   Although being a ‘disabled’ person as contemplated by the law, Plaintiff was able to

     perform the essential functions of her position with or without a reasonable

     accommodation.

23   During the course of her employment, Plaintiff provided loyal and diligent service to

     Defendant.

24   Throughout the course of her employment Plaintiff met Defendant’s legitimate
     expectations in the performance of her job duties and responsibilities.

25   Plaintiff was subjected to the harassment stated hereinabove and terminated because of or

     substantially because of her disability.

26   The reasons articulated by Defendant are mere pretext for intentional discrimination.

27   As a result of this discrimination, Plaintiff has suffered and will continue to suffer

     substantial pay loss, as well as damages for loss of enjoyment of life, humiliation and

     embarrassment and other nonpecuniary losses.

                                 Count II - RETALIATION
28   Plaintiff hereby restates and incorporates by reference each of the allegations contained in

     paragraphs 1 through 27.

29   It is an unlawful employment practice for an employer to retaliate against Plaintiff due to

     her having filed and/or participated in EEO activity.

30   Plaintiff made an EEO complaint and filed a formal internal EEO complaint against the

     Agency in April 2017 and a previous complaint in 2016.

31   On or about November 29, 2018, Plaintiff’s employment was terminated.

32   The reasons articulated by Defendant are mere pretext for retaliation against Plaintiff

     based on her prior EEO activity.




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33      As a result of this retaliation, Plaintiff has suffered and will continue to suffer substantial

        pay loss, as well as damages for loss of enjoyment of life, humiliation and embarrassment

        and other nonpecuniary losses.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays for the following relief:

1       That the Court issue proper process to compel Defendant to answer or otherwise plead to

        the allegations contained in the Complaint;

2       That this Court award Plaintiff the amount of her lost wages and benefits;

3       That this Court order Defendant to reinstate Plaintiff to her former position or a
        comparable position with full seniority and benefits or, in lieu of reinstatement, order

        front pay and benefits until her reinstatement;

4       The this Court award Plaintiff compensatory damages in the amount THREE HUNDRED

        THOUSAND DOLLARS ($300,000.00), or such other amount as the finder of fact

        deems reasonable for the emotional pain, suffering, inconvenience, mental anguish, loss

        of enjoyment of life, humiliation and embarrassment, and other non-pecuniary losses she

        has suffered as a result of the Defendant’s discrimination and/or retaliation;

5       That the Court permanently enjoin Defendant from discriminating and/or retaliating

        against employees based upon disability and/or having engaged in prior EEO activity;

6       That Plaintiff be granted a judgment against Defendant for her reasonable attorneys’ fees,

        costs, disbursements, and interest thereon, both pre and post-judgment; and

7       For such other and further relief as may to this Court seem equitable, proper, and just.

PLAINTIFF DEMANDS A JURY TO TRY ALL ISSUES WHEN JOINED
                                                Respectfully submitted


                                                /s/ James R. Becker, Jr.
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